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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  ALEJANDRO ESPINOZA,                                          CASE NO.

         Plaintiff,

  vs.

  PANDA EXPRESS, INC., a Foreign Profit Corporation
  a Foreign For Profit Corporation
  D/B/A PANDA EXPRESS

        Defendant,
  ____________________________________________/

                            COMPLAINT FOR DECLARATORY AND
                        INJUNCTIVE RELIEF, AND JURY TRIAL DEMAND

         Plaintiff, ALEJANDRO ESPINOZA, through undersigned counsel, sues Defendant,

  PANDA EXPRESS, INC., a foreign for profit corporation d/b/a PANDA EXPRESS (hereinafter

  referred to as “PANDA EXPRESS”), for declaratory and injunctive relief, and damages, and

  alleges as follows:

  This action is brought under Title III of the Americans with Disabilities Act (“ADA”), that is

  codified in 42 U.S.C. §§12181-12189.

  1)     This action is also brought pursuant to 28 C.F.R. Part 36.

  2)     This Court has jurisdiction over this case based on federal question jurisdiction, as provided

  in 28 U.S.C. §1331 and the provisions of the ADA.

  3)     Furthermore, because this Court has jurisdiction over the ADA claim, the Court has

  supplementary jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

  4)     Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA Amendments Act

  of 2008, 42 U.S.C. §12101 (“ADAAA”).
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  5)     Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

  6)     Plaintiff desires to prevent discrimination and demands equal access to Defendant’s

  internet website to purchase white steamed rice, sweet fire chicken breast, and super greens.

  7)     Plaintiff also seeks declaratory and injunctive relief for trespass against the Plaintiff’s

  computer. The computer is Plaintiff’s personal property, and a claim for trespass attached to same.

  8)     The Defendant is also liable for compensatory damages to Plaintiff as a result of the

  trespass to Plaintiff’s personal property.

  9)     The remedies provided under common law for trespass are not exclusive, and same may

  be sought in connection with suits brought under the ADA.

  10)    Venue is proper in the Southern District of Florida, Miami-Dade Division, since all events,

  actions, injuries, and damages complained of herein occurred in the Southern District of Florida.

  11)    Furthermore, Plaintiff is a resident of Miami-Dade County which falls within the Miami

  Division of the Southern District of Florida.

  12)    At all relevant times, Plaintiff is and was visually impaired and has Leber Congenital

  Amaurosis since birth that substantially impairs Plaintiff’s vision whereby his vision fluctuates

  from 20/250 to 20/800.

  13)    Plaintiff’s visual impairment interferes with his day-to-day activities and causes limitations

  in visualizing his environment. As such, Plaintiff is a member of a protected class under the ADA,

  42 U.S.C. § 12102(1) - (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

  et seq., and in 42 U.S.C. 3602, §802(h).

  14)    In addition, Plaintiff is an advocate of the rights of similarly situated disabled persons. As

  such is a “tester” for the purposes of asserting his civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and/or their respective and associated
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  websites are in compliance with the ADA and any other applicable disability laws, regulations,

  and ordinances.

  15)    Plaintiff is limited in the performance of major life activities due to his visual disability

  and he requires assistive technologies, auxiliary aids, and services for effective communication,

  including communication in connection with his use of a computer.

  16)    Plaintiff uses the computer regularly, but due to his visual disability, Plaintiff cannot use

  his computer without the assistance of appropriate and available auxiliary aids, screen reader

  software, and other technology and assistance. In order to assist him, Plaintiff uses NVDA screen

  reader software that is readily available commercially. As background, screen reader software

  translates the visual internet into an auditory equivalent. The software reads the content of a

  webpage to the user at a rapid pace.

  17)    “The screen reading software uses auditory cues to allow a visually impaired user to

  effectively use websites. For example, when using the visual internet, a seeing user learns that a

  link may be ‘clicked,’ which will bring him to another webpage, through visual cues, such as a

  change in the color of the text (often text is turned from black to blue). When the sighted user's

  cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

  software uses auditory -- rather than visual -- cues to relay this same information. When a sight

  impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

  and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

  read aloud by the screen reader, the visually impaired user can navigate a website by listening and

  responding with his keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

  6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).


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  18)    Plaintiff frequently accesses the internet. Because he is significantly and permanently

  visually disabled, to effectively communicate and comprehend information available on the

  internet and thereby access and comprehend websites, Plaintiff uses commercially available screen

  reader software to interface with the various websites.

  19)    Defendant, PANDA EXPRESS, is a foreign profit corporation authorized to do business

  and doing business in the State of Florida.

  20)    Defendant, PANDA EXPRESS, is a company that sells Asian cuisine. There is a retail

  location in Miami-Dade County.

  21)    At all times material hereto, Defendant was and still is a private entity which owns and

  operates retail locations under the brand name “PANDA EXPRESS”. The stores are open to the

  public, and each of Defendant’s locations is defined as a “public accommodation" within the

  meaning of Title III of the ADA because Defendant is a private entity which owns and/or operates

  “[A] bakery, grocery store, clothing store, hardware store, shopping center, or other sales or rental

  establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

  22)    Because Defendants are a store open to the public, each of Defendants’ physical stores is

  a place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(B), and its implementing regulations, 28 C.F.R. Part 36.

  23)    At all times material hereto, Defendant was and still is an organization owning and

  operating the website located at https://www.pandaexpress.com/. Since the website is open

  through the internet to the public as an extension of the retail stores, by this nexus the website is

  an intangible service, privilege and advantage of Defendant’s brick and mortar locations, the

  Defendant has subjected itself and the associated website it created and maintains to the

  requirements of the ADA. The website also services Defendant’s physical stores by providing
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  information on its brand and other information that Defendant is interested in communicating to

  its customers about its physical locations.

  24)    Since the website allows the public the ability to view the products available at Defendant’s

  locations, purchase products, through Defendant’s website, subscribe to Defendant’s newsletter,

  create an account and register to track orders, create a wish list, and learn the story behind

  Defendant’s brand, the website is an extension of, and gateway to, Defendant’s physical stores

  which are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E). By this nexus

  between Defendants’ retail store locations and the Website, and the fact that the Website clearly

  provides support for and is connected to Defendants’ stores for its operation and use, the Website

  is an intangible service, privilege, and advantage of Defendants’ brick-and-mortar stores that must

  comply with all requirements of the ADA. The Website must not discriminate against individuals

  with disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages as afforded the non-visually disabled

  public both online and in the physical stores, which are places of public accommodations subject

  to the requirements of the ADA.

  25)    Plaintiff sought to, seeks to and intends to patronize, in the near future once the Website’s

  access barriers are removed or remedied, one or more of Defendants’ physical retail locations,

  check store hours and product pricing and place online orders. In the alternative, Plaintiff intends

  to monitor the Website in the near future as a tester to ascertain whether it has been remedied and

  updated to interact properly with screen reader software.

  26)    Traveling outside of his home as a visually disabled individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience, thus the opportunity to shop and pre-

  shop Defendants’ products, plan his visits, and to compare products, services, prices, sales,
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  discounts, and promotions are important and necessary accommodations for Plaintiff because

  Defendants have not provided its business information in any other digital format that is accessible

  for use by blind and visually disabled individuals using screen reader software.

  27)    During the month of June 2023, Plaintiff attempted on a number of occasions to utilize the

  Website to browse through the merchandise and online offers to educate himself as to the

  merchandise, sales, discounts, and promotions being offered, learn about the brick-and-mortar

  location, check store hours, and check product pricing with the intent to make a purchase through

  the Website or in one of the physical locations and with the intent to make a purchase through the

  website or at one of Defendant’s physical stores. Plaintiff also attempted to access and utilize the

  Website in his capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as himself who use screen reader software to access and navigate company

  websites.

  28)    Plaintiff utilized NVDA (“Screen Reader Software”) that allows individuals who are blind

  and visually disabled to communicate with websites. However, Defendant’s Website contains

  access barriers that prevent free and full use by blind and visually disabled individuals using

  keyboards and available screen reader software. Plaintiff attempted to purchase clothing on

  Defendant’s website. However, the Plaintiff was not able to freely and fully use Defendant’s

  website because it contains access barriers that make it inaccessible to persons with disabilities,

  and for which there is no reasonable accommodation for the Plaintiff.

  29)    Defendant’s Website contains access barriers that prevent free and full use by blind and

  visually disabled individuals using keyboards and available screen reader software. These barriers

  are pervasive and include, but are not limited to:

         Panda Express: https://www.pandaexpress.com/
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        System settings while doing the review:



        Operating system: Windows 10

        Browser: Google Chrome v. 109.0.5414.120

        Screen Readers: NVDA v. 2023.1



        List of violations encountered:



        Violation 01: The close button within the modal for signing up to receive Panda Points is

        labeled Blank. The user is not able to determine what the button is about.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/

        Screen Capture Evidence:

        https://www.dropbox.com/s/buguo6nwu5enufp/2023_06_13_095350_01.mp4?dl=0



        Violation 02: Within the WE WOK FOR YOU section on the home page, the buttons for

        selecting a meal type to start an order have no audible labels at all. The user is not able to

        determine what they are about.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/


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        Screen Capture Evidence:

        https://www.dropbox.com/s/nx37ia8z2qsg8ku/2023_06_13_095350_02.mp4?dl=0



        Violation 03: Within the Locations page, when the user selects the DELIVERY option,

        there is an audible label indicating the selection is “not checked”. This is misleading and

        does not provide the user with a way of verifying their selection is active.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/location#main-

        content

        Screen Capture Evidence:

        https://www.dropbox.com/s/6br5fad64gc5v9d/2023_06_13_095350_03.mp4?dl=0



        Violation 04: Within the order process, when the user selects one of the listed SIDES

        (e.g., White Steamed Rice), there is no audible label indicating the selection has been

        made. Because there is no audible confirmation, the user is unable to verify the selection

        has been made.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/location/nw-

        57th-ave-blue-lagoon-dr-panda-express/menu/bowl/bowl#main-content

        Screen Capture Evidence:

        https://www.dropbox.com/s/c1omf3cf26jbsmq/2023_06_13_095350_04.mp4?dl=0
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        Violation 05: Within the order process, when the user selects one of the listed ENTRÉES

        (e.g., Kung Pao Chicken), there is no audible label indicating the selection has been

        made. Because there is no audible confirmation, the user is unable to verify the selection

        has been made.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/location/nw-

        57th-ave-blue-lagoon-dr-panda-express/menu/bowl/bowl#main-content

        Screen Capture Evidence:

        https://www.dropbox.com/s/85pyjlavop5xl6i/2023_06_13_095350_05.mp4?dl=0



        Violation 06: Within the order process, when the user selects one of the listed YOU MAY

        ALSO LIKE items (e.g., Dr. Pepper), there is no audible label indicating the selection has

        been made. Because there is no audible confirmation, the user is unable to verify the

        selection has been made.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/order/my-

        bag#main-content

        Screen Capture Evidence:

        https://www.dropbox.com/s/3cyiyx8zzqi1b0i/2023_06_13_095350_06.mp4?dl=0




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        Violation 07: Within the order process, when the user selects one or more of the items

        listed under ADDITIONAL REQUESTS? (e.g., Utensils and Napkins), there is no audible

        label indicating the selection has been made. In addition to that the audible label always

        reads “not checked”, even when it’s been checked. This is misleading and does not

        provide the user with a way of verifying their selection is active.

        Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

        A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/order/my-

        bag#main-content

        Screen Capture Evidence:

        https://www.dropbox.com/s/ud9vqsa5xinfgrm/2023_06_13_095350_07.mp4?dl=0



        Violation 08: Standard 3.3.3. Error Suggestion notes that if an input error is

        automatically detected and suggestions for correction are known, then the suggestions

        need to be provided to the user. When the user enters an incorrect coupon code, the error

        is not rendered in an audible format. The user is not aware of the error being detected.

        Applicable WCAG 2.1 Standard at Issue: 3.3.3 Error Suggestion (Level A).

        URL Where Issue Was Encountered: https://www.pandaexpress.com/order/my-

        bag#main-content

        Screen Capture Evidence:

        https://www.dropbox.com/s/en1rj4j3ce7mkut/2023_06_13_095350_08.mp4?dl=0




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         Violation 09: Within the checkout process, the audible for the Send me emails about

         future promotions checkbox reads “not checked”, even when it’s been checked. This is

         misleading and does not provide the user with a way of verifying the selection is active or

         inactive.

         Applicable WCAG 2.1 Standard at Issue: Standard 3.3.2 Labels or Instructions (Level

         A).

         URL Where Issue Was Encountered: https://www.pandaexpress.com/order/checkout

         Screen Capture Evidence:

         https://www.dropbox.com/s/mp7xr3q87u87ck7/2023_06_13_095350_09.mp4?dl=0



         Violation 10: Within the checkout process, when the user tries to enter the CVV number

         using the keyboard, instead of registering the numbers being entered (e.g., 6 or 8), the

         input is processed as a request for a heading. This prompts an audible label of no next

         heading at level 6 or a chime sound.

         Applicable WCAG 2.1 Standard at Issue: Standard 2.1.1 Keyboard (Level A).

         URL Where Issue Was Encountered: https://www.pandaexpress.com/order/checkout

         Screen Capture Evidence:

         https://www.dropbox.com/s/1bmndrr7xrlybav/2023_06_13_095350_10.mp4?dl=0

  30)    Although the Website appeared to have an “accessibility” statement displayed and an

  “accessibility” widget/plugin added, the “accessibility” statement and widget/plugin, when tested,

  still could not be effectively accessed by, and continued to be a barrier to, blind and visually

  disabled persons, including Plaintiff as a completely blind person. Plaintiff, although he attempted

  to access the statement, thus, was unable to receive any meaningful or prompt assistance through
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  the “accessibility” statement and the widget/plugin to enable him to quickly, fully, and effectively

  navigate the Website.

  31)     The fact that Plaintiff could not communicate with or within the Website left him feeling

  excluded, as he is unable to participate in the same shopping experience, with the same access to

  the merchandise, sales, discounts, and promotions, as provided at the Website and in the physical

  locations as the non-visually disabled public.

  32)     Plaintiff desires and intends, in the near future once the Website’s access barriers are

  removed or remedied, to patronize one or more of Defendants’ physical stores and to use the

  Website, but he is presently unable to do so as he is unable to effectively communicate with

  Defendants due to his severe visual disability and the Website’s access barriers. Alternatively, as

  a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendants through the Website due to his severe visual disability and the

  Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

  disabilities, will suffer continuous and ongoing harm from Defendants’ intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

  33)     On information and belief, Defendants have not initiated a Web Accessibility Policy to

  ensure full and equal use of the Website by individuals with disabilities.

  34)     On information and belief, Defendants have not instituted a Web Accessibility Committee

  to ensure full and equal use of Website by individuals with disabilities.

  35)     On information and belief, Defendants have not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.


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  36)     On information and belief, Defendants have not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

  37)     On information and belief, Defendants have not instituted a User Accessibility Testing

  Group to ensure full and equal use of the Website by individuals with disabilities.

  38)     On information and belief, Defendants have not instituted a Bug Fix Priority Policy.

  39)     On information and belief, Defendants have not instituted an Automated Web Accessibility

  Testing program.

  40)     Defendants have not created and instituted an effective Specialized Customer Assistance

  line or service or email contact mode for customer assistance for the visually disabled.

  41)     Defendants have not created and instituted on the Website a useful or accessible page for

  individuals with disabilities, nor displayed a link and information hotline, nor created an

  information portal explaining when and how Defendants will have the Website, applications, and

  digital assets accessible to the visually disabled or blind community.

  42)     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”) 2.0

  Level AA or higher versions of web accessibility.

  43)     Defendants have not disclosed to the public any intended audits, changes, or lawsuits to

  correct the inaccessibility of the Website to visually disabled individuals who want the safety and

  privacy of purchasing Defendants’ products offered on the Website and in the physical stores from

  their homes.

  44)     Defendants thus have not provided full and equal access to and enjoyment of the goods,

  services, facilities, privileges, advantages, and accommodations provided by and through the

  Website and their physical stores in contravention of the ADA.
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  45)     Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.

  46)     The broad mandate of the ADA is to provide an equal opportunity for individuals with

  disabilities to participate in and benefit from all aspects of American civic and economic life. That

  mandate extends to internet shopping websites such as the Website at issue in the instant action.

  47)     Defendants are, and at all relevant times have been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

  48)     Defendants are, and at all relevant times have been, aware of the need to provide full access

  to all visitors to the Website.

  49)     The barriers that exist on the Website result in discriminatory and unequal treatment of

  individuals with visual disabilities, including Plaintiff.

  50)     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

  hereinabove, and this suit for declaratory judgment and injunctive relief is his only means to secure

  adequate and complete redress from Defendants’ unlawful and discriminatory practices in

  connection with its website access and operation.

  51)     Notice to Defendants is not required because of Defendants’ failure to cure the violations.

  52)     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

  §§2201 and 2202.

  53)     Plaintiff has retained the undersigned attorneys to represent him in this case and has agreed

  to pay them a reasonable fee for their services.


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  COUNT I – VIOLATION OF THE ADA

  54)    Plaintiff realleges paragraphs 1 through 53 as if set forth fully herein.

  55)    Pursuant to 42 U.S.C. §12181(7)(B), Defendant is a public accommodation under the ADA

  and thus is subject to the ADA.

  56)    Pursuant to 42 U.S.C. §12181(7)(B), the Website is covered under the ADA because it

  provides the general public with the ability to view the products available at Defendant’s locations,

  purchase products through Defendant’s website, subscribe to Defendant’s newsletter, create an

  account and register to track orders, create a wish list, and learn the story behind Defendant’s

  brand. The Website thus is an extension of, gateway to, and intangible service, privilege, and

  advantage of Defendants’ physical locations. Further, the Website also serves to augment

  Defendants’ physical stores by providing the public information about the stores and by educating

  the public as to Defendants’ brand and available products merchandise sold through the Website

  and in the physical stores.

  57)    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful discrimination

  to deny individuals with disabilities or a class of individuals with disabilities an opportunity to

  participate in or benefit from the goods, services, facilities, privileges, advantages, or

  accommodation, which is equal to the opportunities afforded to other individuals.

  58)    Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”
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  59)    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

  60)    The Website must comply with the ADA, but it does not as specifically alleged hereinabove

  and below.

  61)    Because of the inaccessibility of the Website, individuals with visual disabilities are denied

  full and equal access to and enjoyment of the goods, information, and services that Defendants

  have made available to the public on the Website and in their physical stores in violation of 42

  U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

  62)    The Website was subsequently visited by Plaintiff’s expert in June and the expert

  determination was that the same access barriers that Plaintiff had initially encountered, as well as

  numerous additional access barriers, existed. Defendants thus have made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. Also, when the Website was visited by

  the expert, although the Website appeared to have an “accessibility” statement and widget/plugin

  linked on and displayed from its home page, the “accessibility” statement and widget/plugin, when

  tested, still could not be effectively used or accessed by, and continued to be a barrier to, blind and

  visually disabled persons such as Plaintiff. Defendant furthermore has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually
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  disabled individuals, nor has it posted on the Website an effective and useful “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

  alternative means to access and navigate the Website. Defendant thus has failed to make reasonable

  modifications in its policies, practices, or procedures when such modifications are necessary to

  afford goods, services, facilities, privileges, advantages, or accommodations to individuals with

  disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility”

  notice, policy, or statement and the numerous access barriers as set forth in the Declaration of

  Plaintiff’s expert, Raul Marquez, attached hereto and the contents of which are incorporated herein

  by reference, continue to render the Website not fully accessible to users who are blind and visually

  disabled, including Plaintiff.

  63)    More violations may be present on other pages of the Website, which can and will be

  determined and proven through the discovery process in this case.

  64)    There are readily available, well-established guidelines on the internet for making Websites

  accessible to the blind and visually disabled. These guidelines have been followed by other large

  business entities in making their websites accessible. Examples of such guidelines include, but are

  not limited to, adding alt-text to graphics and ensuring that all functions can be performed using a

  keyboard. Incorporating such basic components to make the Website accessible would neither

  fundamentally alter the nature of Defendants’ business nor would it result in an undue burden to

  Defendants.

  65)    Defendants have violated the ADA -- and continue to violate the ADA -- by denying access

  to the Website by individuals such as Plaintiff with visual disabilities who require the assistance

  of interface with screen reader software to comprehend and access internet websites. These

  violations within the Website are ongoing.
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  66)    The ADA requires that public accommodations and places of public accommodation

  ensure that communication is effective.

  67)    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice, text, and

  video-based telecommunications products and systems”. Indeed, 28 C.F.R.§36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

  68)    According to 28 C.F.R. §36.303(c), public accommodations must furnish appropriate

  auxiliary aids and services where necessary to ensure effective communication with individuals

  with disabilities: “In order to be effective, auxiliary aids and services must be provided in

  accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

  69)    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle A

  of Title III of the ADA, which prohibits discrimination on the basis of disability by public

  accommodations, and requires places of public accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36.

  70)    As alleged hereinabove, the Website has not been designed to interface with the widely

  and readily available technologies that can be used to ensure effective communication, and thus

  violates the ADA.

  71)    As a direct and proximate result of Defendants’ failure to provide an ADA compliant

  Website, with a nexus to their brick-and-mortar stores, Plaintiff has suffered an injury in fact by

  being denied full access to, enjoyment of, and communication with Defendants’ Website and its

  physical stores.


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  72)    Because of the inadequate development and administration of the Website, Plaintiff is

  entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

  73)    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  appropriate and necessary injunctive relief, including an order to:

          i.     Require Defendants to adopt and implement a web accessibility policy to make

          publicly available and directly link from the homepage of the Website to a functional

          statement as to the Defendants’ policy to ensure persons with disabilities have full and

          equal access to and enjoyment of the goods, services, facilities, privileges, advantages,

          and accommodations through the Website and the physical locations.

          ii.    Require Defendants to take the necessary steps to make the Website readily

          accessible to and usable by blind and visually disabled users, and during that time period

          prior to the Website’s being made readily accessible, provide an effective alternative

          method for individuals with visual disabilities to access the information available on the

          Website until such time that the requisite modifications are made, and

          iii.   Require Defendants to provide the appropriate auxiliary aids such that individuals

          with visual disabilities will be able to effectively communicate with the Website for

          purposes of viewing and locating Defendants’ stores and becoming informed of and

          purchasing Defendants’ products, and during that time period prior to the Website’s being

          designed to permit individuals with visual disabilities to effectively communicate, to

          provide an alternative method for individuals with visual disabilities to effectively

          communicate for such goods and services made available to the general public through

          the Website and the physical stores.
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          iv.    Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

          pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned

          counsel for the filing and prosecution of this action and has agreed to pay them a

          reasonable fee for their services.

  74)    WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         a.      A declaration that Defendant’s website is in violation of the ADA;

         b.      An Order requiring Defendant, by a date certain, to update its website, and continue

         to monitor and update its website on an ongoing basis, to remove barriers in order that

         individuals with visual disabilities can access, and continue to access, the website and

         effectively communicate with the website to the full extent required by Title III of the

         ADA;

         c.      An Order requiring Defendant, by a date certain, to clearly display the universal

         disabled logo within its website, wherein the logo 1would lead to a page which would state

         Defendant’s accessibility information, facts, policies, and accommodations. Such a clear

         display of the disabled logo is to ensure that individuals who are disabled are aware of the

         availability of the accessible features of the website;

         d.      An Order requiring Defendant, by a date certain, to provide ongoing support for

         web accessibility by implementing a website accessibility coordinator, a website




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        application accessibility policy, and providing for website accessibility feedback to insure

        compliance thereto.

        e.        An Order directing Defendant, by a date certain to evaluate its policies, practices

        and procedures toward persons with disabilities, for such reasonable time to allow

        Defendant to undertake and complete corrective procedures to its website;

        f.        An Order directing Defendant, by a date certain, to establish a policy of web

        accessibility and accessibility features for its website to insure effective communication

        for individuals who are visually disabled;

        g.        An Order requiring, by a date certain, that any third-party vendors who participate

        on Defendant’s website to be fully accessible to the visually disabled;

        h.        An Order directing Defendant, by a date certain and at least once yearly thereafter,

        to provide mandatory web accessibility training to all employees who write or develop

        programs or code for, or who publish final content to, Defendant’s website on how to

        conform all web content and services with ADA accessibility requirements and applicable

        accessibility guidelines;

        i.        An Order directing Defendant, by a date certain and at least once every three

        months thereafter, to conduct automated accessibility tests of its website to identify any

        instances where the website is no longer in conformance with the accessibility

        requirements of the ADA and any applicable accessibility guidelines, and further directing

        Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

        review.

        j.        An Order directing Defendant, by a date certain, to make publicly available and

        directly link from its website homepage, a statement of Defendant’s Accessibility Policy
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         to ensure the persons with disabilities have full and equal enjoyment of its website and

         shall accompany the public policy statement with an accessible means of submitting

         accessibility questions and problems.

         k.      An award to Plaintiff of his reasonable attorney’s fees and costs pursuant to in 42

         U.S.C. §§12181-12189, and pursuant to such other laws and statutes that may apply, and

         further relief as the Court deems just and equitable.



  COUNT II – TRESPASS

  Plaintiff realleges paragraphs 1 through 53 as if set forth herein.

  75)    Defendant’s website contains software analytics.               Since Plaintiff has navigated

  Defendant’s website as stated herein, Plaintiff’s computer and the personal information and

  browsing history stored therein, has suffered a trespass by Defendant.

  76)    Plaintiff never consented to and was unaware that Defendant’s website was placing

  software on his computer.

  77)    The “pop-up” or banner notice that appears on Defendant’s website does not properly

  audibilize the cookies policy in a way where a visually disabled person like the Plaintiff can

  properly understand or give informed consent to allow tracking cookies to be placed on his

  computer.

  78)    Defendant committed common law trespass in violation of Florida law against Plaintiff

  because Plaintiff did not consent to the placement of tracking and information securing software

  on his personal computer, which was done without his knowledge and consent.

  79)    Defendant’s trespass has damaged Plaintiff by affecting the condition and value of his

  computer.
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  80)    On its website, Defendant has an internet privacy policy section that can only be accessed

  by clicking a barely visible section at the bottom of the page called “Cookies Policy”, providing

  that they use cookies and similar technologies to collect a consumer’s information and they obtain

  non-public information from their users for their own advertising and marketing purposes by

  placing software on its website that collects a website user’s preferences and internet browsing

  habits as follows:


         Controlling Your Personal Information/Cookie Policy


         We will use reasonable efforts to keep your personal information private except as

         otherwise provided in this Privacy Policy. We will not share the personal information

         with any unaffiliated third parties, unless such disclosure is necessary to (a) comply with

         a court order or other legal process, (b) protect your rights or our property; or (c) enforce

         the Terms and Conditions for Services of this website. In some jurisdictions, you may be

         entitled to request access to, correct or delete any personal information that you have

         provided to us. In some jurisdictions, you can control your personal data that Panda has

         obtained, and exercise your data protection rights, by contacting Panda at the following

         link here. Although we take reasonable measures to safeguard against unauthorized

         disclosures of personal information, we cannot assure you that personally identifiable

         information that we collect will only be disclosed in a manner that is consistent with

         this Privacy Policy.


         Cookie List



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        A cookie is a small piece of data (text file) that a website – when visited by a user – asks

        your browser to store on your device in order to remember information about you, such

        as your language preference or login information. Those cookies are set by us and called

        first-party cookies. We also use third-party cookies – which are cookies from a domain

        different than the domain of the website you are visiting – for our advertising and

        marketing efforts. More specifically, we use cookies and other tracking technologies for

        the following purposes:

        Strictly Necessary Cookies

        These cookies are necessary for the website to function and cannot be switched off in our

        systems. They are usually only set in response to actions made by you which amount to a

        request for services, such as setting your privacy preferences, logging in or filling in

        forms. You can set your browser to block or alert you about these cookies, but some parts

        of the site will not then work. These cookies do not store any personally identifiable

        information.


        Performance Cookies


        These cookies allow us to count visits and traffic sources so we can measure and improve

        the performance of our site. They help us to know which pages are the most and least

        popular and see how visitors move around the site. All information these cookies collect

        is aggregated and therefore anonymous. If you do not allow these cookies we will not

        know when you have visited our site, and will not be able to monitor its performance.


        Functional Cookies

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         These cookies enable the website to provide enhanced functionality and personalization.

         They may be set by us or by third party providers whose services we have added to our

         pages. If you do not allow these cookies then some or all of these services may not

         function properly.


         Targeting Cookies

         These cookies may be set through our site by our advertising partners. They may be used

         by those companies to build a profile of your interests and show you relevant

         advertisements on other sites. They do not store directly personal information, but are

         based on uniquely identifying your browser and internet device. If you do not allow these

         cookies, you will experience less targeted advertising.


  81)    Due to Plaintiff’s disability, he could not understand Defendant’s website and he could not

  give informed consent to Defendant’s installation of data and information tracking software on his

  computer. Defendant also could not give informed consent to Defendant’s collection of his

  browsing history and the placement of analytics on his computer.

  82)    Thus, Plaintiff has no adequate remedy at law to redress Defendant’s knowing and reckless

  disregard for Plaintiff’s right to exclude others from his computer and determine which programs

  should be installed and operated on his computer.



  WHEREFORE, Plaintiff demands judgment against Defendant for Plaintiff’s damages, interest,

  costs, and such further relief as the Court deems just and equitable.




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                                    REQUEST FOR JURY TRIAL



       Plaintiff requests a jury trial.


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